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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 In re WESTERN REFINING, INC.                          Lead Case No. 3:17-cv-00002
 STOCKHOLDER LITIGATION


 This Document Relates To:

        ALL ACTIONS


    JOINT STIPULATED MOTION AND ORDER TO DISMISS ACTION AS MOOT


       WHEREAS, Western Refining, Inc. (“Western Refining” or the “Company”) entered into

an agreement and plan of merger with Tesoro Corporation (“Tesoro”) on November 16, 2016

(the “Merger Agreement”), pursuant to which Tesoro agreed to acquire Western Refining in a

stock-for-stock transaction that gives Western Refining stockholders the right to receive 0.4350

of a share of Tesoro common stock for each share of the Company’s common stock or,

alternatively, the right to elect to receive $37.30 for each share of the Company’s common stock

(with such cash consideration capped at 10% of the total equity consideration) (the “Proposed

Transaction”);

       WHEREAS, on December 14, 2016, the Company filed a preliminary Registration

Statement on Form S-4 (“preliminary Registration Statement”) with the Securities and Exchange

Commission (the “SEC”) in support of the Proposed Transaction;

       WHEREAS, Srini Vasan, Brian Miller, Gene Love, Joseph Shomberg and John Solak

(“Plaintiffs”) filed complaints challenging the Western Refining - Tesoro transaction.

Mr. Vasan’s complaint was first filed in Case No. 3:17-cv-00002 (Jan. 4, 2017). Plaintiffs in all

five suits filed a stipulation to consolidate the cases into this one on January 6, 2017. See
Stipulation and Order to Consolidate and Appoint Interim Lead Counsel for Plaintiffs (Jan. 26,

2017), ECF No. 4 (the “Stipulation”). In the Stipulation, the complaint in the Miller Action

(Case No. 3:17-cv-00002) was deemed the operative complaint (“the Complaint”). Stipulation
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at ¶ C. 2.      The complaints are all based on Western Refining’s preliminary proxy

statement, the Registration Statement, which is a joint proxy/prospectus with Tesoro filed with

the SEC on Form S-4 on December 14, 2016;

       WHEREAS, after the preliminary Registration Statement was filed, Western Refining

and Tesoro filed three amendments to the preliminary Registration Statement (the “Amended

Registration Statements”);

       WHEREAS, on February 23, 2017, Defendants filed a motion to dismiss the Complaint;

       WHEREAS, Plaintiffs believe and contend that the Amended Registration Statements

contained material information and disclosed additional material facts that mooted certain

meritorious claims set forth in the Complaint;

       WHEREAS, Defendants deny that any claim asserted in the Complaint is meritorious,

deny that the Amended Registration Statements contained any additional material facts, and deny

that any information disclosed in the Amended Registration Statements resulted from or was

intended to address any of Plaintiffs’ claims;

       WHEREAS, Plaintiffs believe that as a result of the additional information disclosed in

the Amended Registration Statements the Plaintiffs’ actions have caused and provided a

compensable benefit to Western Refining’s stockholders;

       WHEREAS, Defendants assert that Western Refining’s amendments to the preliminary

Registration Statement were in response to comments from the SEC and that Plaintiffs’ actions

have not caused or provided any benefit to Western Refining’s stockholders;

       WHEREAS, counsel for Plaintiffs seek to dismiss the above-captioned action with

prejudice as to Plaintiffs only, and without prejudice as to all unnamed members of the putative

class, and Plaintiffs seek to submit a motion for an award of attorneys’ fees and reimbursement

of expenses (the “Fee and Expense Motion”) in connection with the Amended Registration

Statements;




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        WHEREAS, no compensation in any form has passed directly or indirectly to the

Plaintiffs or their attorneys and no promise or agreement to give any such compensation has been

made;

        WHEREAS, Defendants reserve the right to oppose any potential Fee and Expense

Motion;

        WHEREAS, the parties currently intend to meet and confer concerning Plaintiffs’

potential Fee and Expense Motion, and if the parties are unable to reach an agreement

concerning such motion, the parties intend to ask the Court to set a stipulated briefing schedule;

and

        WHEREAS, no class has been certified in the above-captioned actions.

        NOW, THEREFORE, subject to approval and entry of an order by the Court, the parties

stipulate as follows:

        1.      The above-captioned action is dismissed, and the claims asserted therein are

dismissed with prejudice as to the named Plaintiffs and without prejudice as to all other members

of the putative class.

        2.      This Court retains continuing jurisdiction over the parties in the Action solely for

purposes of further proceedings related to the adjudication of Plaintiffs’ anticipated Fee and

Expense Application.

        3.      Because no class has been certified, the dismissal as to the putative class is

without prejudice, no compensation in any form has passed directly or indirectly to the Plaintiffs

or their attorneys, and no promise to give any such compensation has been made, dismissal

without notice to the putative class members will not prejudice putative class members, and,

therefore, pursuant to Rule 23(c)(2) of the Federal Rules of Civil Procedure, notice to the

putative class members of this dismissal is not required.

        4.      This stipulation is without prejudice to any position, claim, or defense any party

may assert with respect to the potential Fee and Expense Motion or any matter related thereto.




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       DATED: March 6, 2017.


                                                    /s/ Thomas E. Bilek
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       SO ORDERED the ________ day of ________________________, 2017.




                                      UNITED STATES DISTRICT JUDGE




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